                     IN THE UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

IN RE:                                         §
                                               §             Case No. 18-10511-TMD
RONCO HOLDINGS, INC.,                          §
                                               §                    Chapter 11
                Debtor.                        §

     ORDER CONVERTING BANKRUTPCY CASE TO ONE UNDER CHAPTER 7

       Came on for consideration the Motion to Convert Case to One Under Chapter 7 (the

“Motion to Convert”) filed by Ronco Holdings, Inc. (the “Debtor”).           The Court, having

considered the Motion to Convert, finds it to be meritorious and that it should be granted as set

forth herein.

       It is, therefore:

       ORDERED that the Motion to Convert is GRANTED, and pursuant to 11 U.S.C.

§ 1112(a), this bankruptcy case is converted to one under Chapter 7 of Title 11 of the United

States Code.

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ORDER PREPARED BY

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